           Case 19-00739-SMT                  Doc 9 Filed 11/05/19 Entered 11/05/19 14:38:08                                    Desc
                                                  NTCRDO13 Page 1 of 1
NTCRDO13 (12/15)




In Re: Greylin Leroy Thomas,                                                                                    Case No.: 19−00739−SMT
Jr.                                                                                                                           Chapter: 13
                                                  United States Bankruptcy Court for the
                                                           District of Columbia
                                                  E. Barrett Prettyman U. S. Courthouse
                                                    333 Constitution Ave, NW #1225
                                                         Washington, DC 20001
                                                              (202) 354−3280
                                                         www.dcb.uscourts.gov


                                  ORDER TO FILE REQUIRED DOCUMENTS
                         ======================================================

   The following documents required by the Bankruptcy Code and the Federal Rules of Bankruptcy Procedure have
not yet been filed:

      Schedules A/B−J (Official Form 106 for                            Statement of Your Financial Affairs (Official Form 107 for
      individuals or 206 for non−individuals)1                          individuals or 207 for non−individuals)
      Copies of All Payment Advices or Other                            Chapter 13 Statement of Your Current Monthly Income
      Evidences of Payment/Statement That No                            and Calculation of Commitment Period (Official Form
      Evidence of Payment Exists2                                       122C−1)
     Chapter 13 Plan of Reorganization3
   The missing documents indicated above must be filed by 11/19/2019 to comply with the Federal Rules of
Bankruptcy Procedure. Failure to file the missing documents within fourteen (14) days of the petition date may
result in dismissal of this case. It is

   ORDERED that, unless the debtor obtains an extension of time, the debtor must file the foregoing documents by
11/19/2019.4

Copies to: Debtor(s); Attorney for the Debtor(s) (if any).

______________________________
1 All Official Forms are available at http://www.uscourts.gov/bkforms/bankruptcy_forms.html. If schedules D or E/F are filed after the
mailing matrix and list of creditors are filed, the debtor(s) must file either an amended mailing matrix and list of creditors or a certification
that no changes have been made to the mailing matrix. Finally, the debtor(s) must pay a $31.00 fee if the schedules require the filing of an
amended mailing matrix and list of creditors to add or delete a creditor.
2 A debtor who has received no payment advices or other evidence of payment from an employer within the sixty (60) days preceding the
filing of the petition may satisfy the requirements of § 521(a)(1)(B)(iv) by filing a statement to that effect on the court's docket.
3 This court's local rules require that the debtor(s) also file a certificate of service reflecting the mailing of the plan and notice of the
opportunity to object to confirmation of the plan with the plan. See Local Bankr. R. 3015−1(c) and 5005−3. Templates conforming to the
court's suggested format for all chapter 13 plans are available at the office of the clerk of the court and (as a "pdf" document with interactive
fields) on the court's website at http:www.dcb.uscourts.gov under the link "Forms & Publications."
4Pursuant to a motion requesting an extension for cause the court may grant an extension of time under F.R. Bankr. P. 9006. The court
generally looks with disfavor on motions to extend the deadline to file the required documents to a date after the meeting of creditors.
                                                                                                            For the Court:
                                                                                                            Angela D. Caesar
Dated: 11/5/19
                                                                                                            By:
                                                                                                            CA
